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UBER TECHNOLOGIES, INC / RASIER, LLC / RASIER-PA, LLC / RASIER-DC, LLC /
RASIER-MT, LLC
TECHNOLOGY SERVICES AGREEMENT
Last update: November 25, 2019

This Technology Services Agreement (“Agreement”) constitutes a legal agreement
between you, an individual (“you”) and Uber Technologies, Inc. (“Uber”) if your Territory
(as defined below) is within the State of California, Rasier-PA, LLC if your Territory is within
the State of Pennsylvania, Rasier-DC, LLC if your Territory is within the State of Florida,
Rasier-MT, LLC if your Territory is within the State of Montana, Hinter-NM if your Territory
is within the State of New Mexico, or Rasier, LLC if your Territory is anywhere else within
the United States (each as applicable, “Company”) and solely with respect to Section
14 of this Agreement, Rasier-CA, LLC, if your Territory is California and Hinter-NM if
your Territory is New Mexico.
The Company provides lead generation to independent providers of rideshare or peer-to-
peer (collectively, “P2P”) passenger transportation services using the Uber Services (as
defined below). The Uber Services enable an authorized transportation provider to seek,
receive and fulfill requests for transportation services from an authorized user of Uber’s
mobile applications. You desire to enter into this Agreement for the purpose of accessing
and using the Uber Services.
You acknowledge and agree that Company is a technology services provider that
does not provide transportation services.
In order to use the Uber Services, you must agree to the terms and conditions that are set
forth below. Upon your execution (electronic or otherwise) of this Agreement, you and
Company shall be bound by the terms and conditions set forth herein.
The following sentence only applies if, immediately prior to accepting this
Agreement, you are a party to an effective technology services agreement with
the Company, Rasier-CA, LLC or Hinter-NM. Notwithstanding the execution of this
Agreement, and the termination of your prior technology services agreement, any
previously agreed and currently effective supplemental terms, including the
Pricing Addendum (defined below) last updated on May 22, 2017, will continue in
full force and effect as described in this Agreement.
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1. Definitions
1.1    “2015 Agreement” means the Technology Services Agreement, last updated
       December 11, 2015, by and among you and Rasier-CA, LLC if your Territory is
       within the State of California, Rasier-PA, LLC if your Territory is within the State
       of Pennsylvania, Rasier-DC, LLC if your Territory is within the State of Florida,
       Rasier-MT, LLC if your Territory is within the State of Montana, Hinter-NM if your
       Territory is within the State of New Mexico, or Rasier, LLC.
1.2    “2015 Termination” has the meaning set forth in Section 14.1.
1.3    “Affiliate” means an entity that, directly or indirectly, controls, is under the
       control of, or is under common control with a party, where control means having
       more than fifty percent (50%) of the voting stock or other ownership interest or
       the majority of the voting rights of such entity.
1.4    “City Addendum” means an addendum or supplemental information to this
       Agreement setting forth additional Territory-specific terms, as made available
       and as updated by Company from time to time.
1.5    “Class Action Waiver” has the meaning set forth in Section 15.2.
1.6    “Company Data” means all data related to the access and use of the Uber
       Services hereunder, including all data related to Users (including User
       Information), all data related to the provision of Transportation Services via the
       Uber Services and the Driver App, and the Driver ID.
1.7    “Company Device” means a mobile device owned or controlled by Company
       that is provided to you solely for your use of the Driver App to provide
       Transportation Services.
1.8    “Device” means a Company Device or Your Device, as the case may be.
1.9    “Driver App” means the mobile application provided by Company that enables
       transportation providers to access the Uber Services for the purpose of
       seeking, receiving and fulfilling on- demand requests for transportation services
       by Users, as may be updated or modified from time to time.
1.10   “Driver ID” means the identification and password key assigned by Company to
       you that enables you to use and access the Driver App.
1.11   “Effective Time” means the date and time on which this Agreement is accepted
       by you.
1.12   “Existing City Addendum” means any City Addendum (as defined in the 2015
       Agreement) effective as of immediately prior to the Effective Time including,
       without limitation the Pricing Addendum.
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1.13   “Existing Supplemental Terms” means any Supplemental Terms (as defined in
       Section 14.2 of the 2015 Agreement) effective as of immediately prior to the
       Effective Time.
1.14   “Fare” has the meaning set forth in Section 4.1.
1.15   “JAMS Rules” has the meaning set forth in Section 15.2.
1.16   “Pricing Addendum” means that certain Addendum, last updated as of May 22,
       2017, by and between you and the applicable Uber Subsidiary.
1.17   “Representative Action Waiver” has the meaning set forth in Section 15.2.
1.18   “Service Fee” has the meaning set forth in Section 4.4.
1.19   “Territory” means the city or metro areas in the United States in which you are
       enabled by the Driver App to receive requests for Transportation Services.
1.20   “Tolls” means any applicable road, bridge, ferry, tunnel and airport charges and
       fees, including inner-city congestion, environmental or similar charges as
       reasonably determined by the Uber Services based on available information.
1.21   “Transportation Services” means your provision of P2P passenger
       transportation services to Users via the Uber Services in the Territory using
       the Vehicle.
1.22   “Uber Services” mean Uber’s on-demand lead generation and related services
       licensed by Uber that enable transportation providers to seek, receive and fulfill
       on-demand requests for transportation services by Users seeking transportation
       services; such Uber Services include access to the Driver App and Uber’s
       software, websites, payment services as described in Section 4 below, and
       related support services systems, as may be updated or modified from time to
       time.
1.23   “Uber Subsidiary” means each of Rasier-CA, LLC, Rasier-PA, LLC, Rasier-DC,
       LLC, Rasier-MT, LLC, Hinter-NM and Rasier, LLC.
1.24   “User” means an end user authorized by Uber to use the Uber mobile
       application for the purpose of obtaining Transportation Services offered by
       Company’s transportation provider customers.
1.25   “User Information” means information about a User made available to you in
       connection with such User’s request for and use of Transportation Services,
       which may include the User’s name, pick-up location, contact information and
       photo.
1.26   “Vehicle” means your vehicle that: (a) meets the then-current Company
       requirements for a vehicle on the Uber Services; and (b) Company
       authorizes for your use for the purpose of providing Transportation Services.
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1.27   “Your Device” means a mobile device owned or controlled by you: (a) that
       meets the then- current Company specifications for mobile devices as set forth at
       www.uber.com/byod-devices; and (b) on which the Driver App has been
       installed as authorized by Company solely for the purpose of providing
       Transportation Services.
2. Use of the Uber Services
2.1    Driver IDs. Uber will issue you a Driver ID to enable you to access and use the
       Driver App on a Device in accordance with this Agreement. Company reserves
       the right to deactivate your Driver ID if you have not fulfilled a request for
       Transportation Services using the Driver App at least once a month. You agree
       that you will maintain your Driver ID in confidence and not share your Driver
       ID with any third party. You will immediately notify Company of any actual or
       suspected breach or improper use or disclosure of your Driver ID or the
       Driver App.
2.2    Provision of Transportation Services. When the Driver App is active, User
       requests for Transportation Services may appear to you via the Driver App if
       you are available and in the vicinity of the User. If you accept a User’s request for
       Transportation Services, the Uber Services will provide you with certain User
       Information via the Driver App, including the User’s first name and pickup
       location. In order to enhance User satisfaction with the Uber mobile application
       and your Transportation Services, it is recommended that you wait at least ten
       (10) minutes for a User to show up at the requested pick-up location. You will
       obtain the destination from the User, either in person upon pickup or from the
       Driver App if the User elects to enter such destination via Uber’s mobile
       application. You acknowledge and agree that once you have accepted a User’s
       request for Transportation Services, Uber’s mobile application may provide
       certain information about you to the User, including your first name, contact
       information, photo and location, and your Vehicle’s make and license plate
       number. You shall not contact any Users or use any User’s personal data for any
       reason other than for the purposes of fulfilling Transportation Services. As
       between Company and you, you acknowledge and agree that: (a) you shall be
       solely responsible for determining the most effective, efficient and safe manner to
       perform each instance of Transportation Services; and (b) except for the Uber
       Services or any Company Devices (if applicable), you shall provide all
       necessary equipment, tools and other materials, at your own expense,
       necessary to perform Transportation Services. You understand and agree that
       you have a legal obligation under the Americans with Disabilities Act and similar
       state laws to transport Users with Service Animals (as defined by applicable state
       and federal law), including guide dogs for the blind and visually impaired Users,
       and there is no exception to this obligation for allergies or religious objections.
       Your knowing failure to transport a User with a Service Animal shall constitute a
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      material breach of this Agreement. You agree that a “knowing failure” to comply
      with this legal obligation shall constitute either: (1) a denial of a ride where you
      state the denial was due to a Service Animal; or (2) there is more than one (1)
      instance in which a User or the companion of a User alleges that you cancelled
      or refused a ride on the basis of a Service Animal.
2.3   Your Relationship with Users. You acknowledge and agree that your provision of
      Transportation Services to Users creates a direct business relationship between
      you and the User. Company is not responsible or liable for the actions or
      inactions of a User in relation to you, your activities or your Vehicle. You shall
      have the sole responsibility for any obligations or liabilities to Users or third
      parties that arise from your provision of Transportation Services. You
      acknowledge and agree that you are solely responsible for taking such
      precautions as may be reasonable and proper (including maintaining adequate
      insurance that meets the requirements of all applicable laws including motor
      vehicle financial responsibility laws) regarding any acts or omissions of a User or
      third party. You acknowledge and agree that Company may release your contact
      and/or insurance information to a User upon such User’s reasonable request.
      You acknowledge and agree that, unless specifically consented to by a User, you
      may not transport or allow inside your Vehicle individuals other than a User and
      any individuals authorized by such User, during the performance of
      Transportation Services for such User. You acknowledge and agree that all Users
      should be transported directly to their specified destination, as directed by the
      applicable User, without unauthorized interruption or unauthorized stops.
2.4   Your Relationship with Company. You acknowledge and agree that Company’s
      provision to you of the Driver App and the Uber Services creates a direct business
      relationship between Company and you. Company does not, and shall not be
      deemed to, direct or control you generally or in your performance under this
      Agreement specifically, including in connection with your provision of
      Transportation Services, your acts or omissions, or your operation and
      maintenance of your Vehicle. You retain the sole right to determine when,
      where, and for how long you will utilize the Driver App or the Uber Services.
      You retain the option, via the Driver App, to attempt to accept or to decline or
      ignore a User’s request for Transportation Services via the Uber Services, or to
      cancel an accepted request for Transportation Services via the Driver App,
      subject to Company’s then-current cancellation policies. With the exception of
      any signage required by local law or permit/license requirements, Company
      shall have no right to require you to: (a) display Company’s or any of its
      Affiliates’ names, logos or colors on your Vehicle(s); or (b) wear a uniform or any
      other clothing displaying Company’s or any of its Affiliates’ names, logos or
      colors. You acknowledge and agree that you have complete discretion to
      provide services or otherwise engage in other business or employment
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      activities. For the sake of clarity, you understand that you retain the complete
      right to; (i) use other software application services in addition to the Uber
      Services; and (ii) engage in any other occupation or business. Company
      retains the right to deactivate or otherwise restrict you from accessing or using
      the Driver App or the Uber Services in the event of a violation or alleged
      violation of this Agreement, your disparagement of Company or any of its
      Affiliates, your act or omission that causes harm to Company’s or its Affiliates’
      brand, reputation or business as determined by Company in its sole discretion.
2.5   Ratings.
      2.5.1 You acknowledge and agree that: (a) after receiving Transportation
            Services, a User will be prompted by Uber’s mobile application to
            provide a rating of you and such Transportation Services and,
            optionally, to provide comments or feedback about you and such
            Transportation Services; and (b) after providing Transportation Services,
            you will be prompted by the Driver App to provide a rating of the User
            and, optionally, to provide comments or feedback about the User. You
            shall provide your ratings and feedback in good faith.
      2.5.2 You acknowledge that Company desires that Users have access to high-
            quality services via Uber’s mobile application. In order to continue to
            receive access to the Driver App and the Uber Services, you must maintain
            an average rating by Users that exceeds the minimum average acceptable
            rating established by Company for your Territory, as may be updated from
            time to time by Company in its sole discretion (“Minimum Average
            Rating”). Your average rating is intended to reflect Users’ satisfaction with
            your Transportation Services rather than your compliance with any of
            Company’s policies or recommendations. In the event your average
            rating falls below the Minimum Average Rating, Company will notify you
            and may provide you, in Company’s discretion, a limited period of time to
            raise your average rating above the Minimum Average Rating. If you do
            not increase your average rating above the Minimum Average Rating
            within the time period allowed (if any), Company reserves the right to
            deactivate your access to the Driver App and the Uber Services.
            Additionally, you acknowledge that your repeated failure to accept User
            requests for Transportation Services while you are logged in to the Driver
            App creates a negative experience for Users of Uber’s mobile application.
            If you do not wish to accept User requests for Transportation Services for a
            period of time, you agree that you will log off of the Driver App.
      2.5.3 Company and its Affiliates reserve the right to use, share and display
            your and User ratings and comments in any manner in connection with the
            business of Company and its Affiliates without attribution to you or your
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            approval. You acknowledge and agree that Company and its Affiliates
            are distributors (without any obligation to verify) and not publishers of
            your and User ratings and comments, provided that Company and its
            Affiliates reserve the right to edit or remove comments in the event that
            such comments include obscenities or other objectionable content,
            include an individual’s name or other personal information, or violate any
            privacy laws, other applicable laws or Company’s or its Affiliates’ content
            policies.
2.6    Devices.
      2.6.1 Company encourages you to use Your Device in providing
            Transportation Services. Otherwise, if you elect to use any Company
            Devices, Company will supply you upon request with Company Devices
            and provide the necessary wireless data plan for such Devices, provided
            that Company will require reimbursement from you for the costs
            associated with the wireless data plan of each Company Device and/or
            request a deposit for each Company Device. You agree that: (a) Company
            Devices may only be used for the purpose of enabling your access to the
            Uber Services; and (b) Company Devices may not be transferred, loaned,
            sold or otherwise provided in any manner to any party other than you.
            Company Devices shall at all times remain the property of Company, and
            upon termination of this Agreement or your termination or deactivation,
            you agree to return to Company the applicable Company Devices within
            ten (10) days. You agree that failure to timely return any Company
            Devices, or damage to Company Devices outside of “normal wear and
            tear,” will result in the forfeiture of related deposits.
      2.6.2 If you elect to use Your Devices: (i) you are responsible for the
            acquisition, cost and maintenance of Your Devices as well as any
            necessary wireless data plan; and (ii) Company shall make available
            the Driver App for installation on Your Device. Company hereby grants
            you a personal, non-exclusive, non-transferable license to install and use
            the Driver App on Your Device solely for the purpose of providing
            Transportation Services. You agree to not provide, distribute or share,
            or enable the provision, distribution or sharing of, the Driver App (or
            any data associated therewith) with any third party. The foregoing
            license grant shall immediately terminate and you will delete and fully
            remove the Driver App from the Driver-Provided Device in the event that
            you cease to provide Transportation Services using Your Device. You
            agree that: (i) use of the Driver App on Your Device requires an active
            data plan with a wireless carrier associated with Your Device, which
            data plan will be provided by you at your own expense; and (ii) use of the
            Driver App on Your Device as an interface with the Uber Services may
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             consume very large amounts of data through the data plan. COMPANY
             ADVISES THAT YOUR DEVICE ONLY BE USED UNDER A DATA PLAN
             WITH UNLIMITED OR VERY HIGH DATA USAGE LIMITS, AND COMPANY
             SHALL NOT BE RESPONSIBLE OR LIABLE FOR ANY FEES, COSTS, OR
             OVERAGE CHARGES ASSOCIATED WITH ANY DATA PLAN.
2.7   Location Based Services. You acknowledge and agree that your geo-location
      information must be provided to the Uber Services via a Device in order to
      provide Transportation Services. You acknowledge and agree that: (a) your
      geo-location information may be obtained by the Uber Services while the Driver
      App is running; and (b) the approximate location of your Vehicle will be displayed
      to the User before and during the provision of Transportation Services to such
      User. In addition, Company and its Affiliates may monitor, track and share with
      third parties Driver’s geo-location information obtained by the Driver App and
      Device for safety and security purposes.
3. You and Your Vehicle
3.1    Your Requirements. You acknowledge and agree that at all times, you shall:
       (a) hold and maintain (i) a valid driver's license with the appropriate level of
       certification to operate your Vehicle, and (ii) all licenses, permits, approvals
       and authority applicable to you that are necessary to provide passenger
       transportation services to third parties in the Territory; (b) possess the
       appropriate and current level of training, expertise and experience to provide
       Transportation Services in a professional manner with due skill, care and
       diligence; and (c) maintain high standards of professionalism, service and
       courtesy. You acknowledge and agree that you may be subject to certain
       background and driving record checks from time to time in order to qualify to
       provide, and remain eligible to provide, Transportation Services. You
       acknowledge and agree that Company reserves the right, at any time in
       Company’s sole discretion, to deactivate or otherwise restrict you from
       accessing or using the Driver App or the Uber Services if you fail to meet the
       requirements set forth in this Agreement.
3.2   Vehicle Requirements. You acknowledge and agree that your Vehicle shall at all
      times be: (a) properly registered and licensed to operate as a passenger
      transportation vehicle in the Territory; (b) owned or leased by you, or otherwise
      in your lawful possession; (c) suitable for performing the passenger
      transportation services contemplated by this Agreement; and (d) maintained in
      good operating condition, consistent with industry safety and maintenance
      standards for a Vehicle of its kind and any additional standards or requirements in
      the applicable Territory, and in a clean and sanitary condition.
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3.3    Documentation. To ensure your compliance with all requirements in Sections 3.1
       and 3.2 above, you must provide Company with written copies of all such
       licenses, permits, approvals, authority, registrations and certifications prior to
       your provision of any Transportation Services. Thereafter, you must submit to
       Company written evidence of all such licenses, permits, approvals, authority,
       registrations and certifications as they are renewed. Company shall, upon
       request, be entitled to review such licenses, permits, approvals, authority,
       registrations and certifications from time to time, and your failure to provide or
       maintain any of the foregoing shall constitute a material breach of this
       Agreement. Company reserves the right to independently verify your
       documentation from time to time in any way Company deems appropriate in its
       reasonable discretion. Financial Terms
4. Fare Calculation and Your Payment. You are entitled to charge a fare for each
   instance of completed Transportation Services provided to a User that are obtained
   via the Uber Services (“Fare”), where such Fare is calculated based upon a base
   fare amount plus distance (as determined by Company using location-based
   services enabled through the Device) and/or time amounts, as detailed at
   www.uber.com/cities for the applicable Territory (“Fare Calculation”). You
   acknowledge and agree that the Fare provided under the Fare Calculation is the
   only payment you will receive in connection with the provision of Transportation
   Services, and that neither the Fare nor the Fare Calculation includes any gratuity.
   You are also entitled to charge User for any Tolls, taxes or fees incurred during the
   provision of Transportation Services, if applicable. You: (i) appoint Company as
   your limited payment collection agent solely for the purpose of accepting the Fare,
   applicable Tolls and, depending on the region and/or if requested by you, applicable
   taxes and fees from the User on your behalf via the payment processing
   functionality facilitated by the Uber Services; and (ii) agree that payment made by
   User to Company (or to an Affiliate of Company acting as an agent of Company) shall
   be considered the same as payment made directly by User to you. In addition, the
   parties acknowledge and agree that as between you and Company, the Fare is a
   recommended amount, and the primary purpose of the pre-arranged Fare is to act
   as the default amount in the event you do not negotiate a different amount. You
   shall always have the right to: (i) charge a fare that is less than the pre-arranged
   Fare; or (ii) negotiate, at your request, a Fare that is lower than the pre- arranged
   Fare (each of (i) and (ii) herein, a “Negotiated Fare”). Company shall consider all such
   requests from you in good faith. Company agrees to remit, or cause to be remitted,
   to you on at least a weekly basis: (a) the Fare less the applicable Service Fee; (b) the
   Tolls; and (c) depending on the region, certain taxes and ancillary fees. If you have
   separately agreed that other amounts may be deducted from the Fare prior to
   remittance to you (e.g., vehicle financing payments, lease payments, mobile device
   usage charges, etc.), the order of any such deductions from the Fare shall be
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      determined exclusively by Company (as between you and Company).
4.1      Changes to Fare Calculation. Company reserves the right to change the Fare
         Calculation at any time in Company’s discretion based upon local market
         factors, and Company will provide you with notice in the event of changes to
         the base fare, per mile, and/or per minute amounts that would result in a
         change in the recommended Fare. Continued use of the Uber Services after
         any such change in the Fare Calculation shall constitute your consent to such
         change.
4.2      Fare Adjustment. Company reserves the right to: (i) adjust the Fare for a
         particular instance of Transportation Services (e.g., you took an inefficient
         route, you failed to properly end a particular instance of Transportation
         Services in the Driver App, technical error in the Uber Services, etc.); or (ii)
         cancel the Fare for a particular instance of Transportation Services (e.g., User is
         charged for Transportation Services that were not provided, in the event of a
         User complaint, fraud, etc.). Company’s decision to reduce or cancel the Fare in
         any such manner shall be exercised in a reasonable manner.
4.3      Service Fee. In consideration of Company’s provision of the Driver App and the
         Uber Services for your use and benefit hereunder, you agree to pay Company
         a service fee on a per Transportation Services transaction basis calculated as a
         percentage of the Fare determined by the Fare Calculation (regardless of any
         Negotiated Fare), as provided to you via email or otherwise made available
         electronically by Company from time to time for the applicable Territory
         (“Service Fee”). In the event regulations applicable to your Territory require
         taxes to be calculated on the Fare, Company shall calculate. e the Service Fee
         based on the Fare net of such taxes. Company reserves the right to change the
         Service Fee at any time in Company’s discretion based upon local market
         factors, and Company will provide you with notice in the event of such change.
         Continued use of the Uber Services after any such change in the Service Fee
         calculation shall constitute your consent to such change.
4.4      Cancellation Charges. You acknowledge and agree that Users may elect to
         cancel requests for Transportation Services that have been accepted by you via
         the Driver App at any time prior to your arrival. In the event that a User cancels an
         accepted request for Transportation Services, Company may charge the User a
         cancellation fee on your behalf. If charged, this cancellation fee shall be deemed
         the Fare for the cancelled Transportation Services for the purpose of
         remittance to you hereunder (“Cancellation Fee”). The parties acknowledge and
         agree that as between you and Company, this Cancellation Fee is a
         recommended amount, and the primary purpose of such Cancellation Fee is to
         act as the default amount in the event you do not negotiate a different amount.
         You shall always have the right to: (i) charge a cancellation fee that is less than
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       the Cancellation Fee; or (ii) negotiate, at your request, a cancellation fee that is
       lower than the Cancellation Fee (each of (i) and (ii) herein, a “Negotiated
       Cancellation Fee”). If charged, the Cancellation Fee (regardless of any
       Negotiated Cancellation Fee) shall be deemed the Fare for the cancelled
       Transportation Services for the purpose of remittance to you hereunder.
4.5    Receipts. As part of the Uber Services, Company provides you a system for
       the delivery of receipts to Users for Transportation Services rendered. Upon your
       completion of Transportation Services for a User, Company prepares an
       applicable receipt and issues such receipt to the User via email on your behalf.
       Such receipts are also provided to you via email or the online portal available to
       you through the Uber Services. Receipts include the breakdown of amounts
       charged to the User for Transportation Services and may include specific
       information about you, including your name, contact information and photo, as
       well as a map of the route you took. Any corrections to a User’s receipt for
       Transportation Services must be submitted to Company in writing within three (3)
       business days after the completion of such Transportation Services. Absent
       such a notice, Company shall not be liable for any mistakes in or corrections to
       the receipt or for recalculation or disbursement of the Fare.
4.6    No Additional Amounts. You acknowledge and agree that, for the mutual
       benefit of the parties, through advertising and marketing, Company and its
       Affiliates may seek to attract new Users to Uber and to increase existing Users’
       use of Uber’s mobile application. You acknowledge and agree such advertising
       or marketing does not entitle you to any additional monetary amounts beyond
       the amounts expressly set forth in this Agreement.
4.7    Taxes. You acknowledge and agree that you are required to: (a) complete all tax
       registration obligations and calculate and remit all tax liabilities related to your
       provision of Transportation Services as required by applicable law; and (b)
       provide Company with all relevant tax information. You further acknowledge
       and agree that you are responsible for taxes on your own income arising from the
       performance of Transportation Services. Notwithstanding anything to the
       contrary in this Agreement, Company may in its reasonable discretion based on
       applicable tax and regulatory considerations, collect and remit taxes resulting
       from your provision of Transportation Services and/or provide any of the
       relevant tax information you have provided pursuant to the foregoing
       requirements in this Section 4.8 directly to the applicable governmental tax
       authorities on your behalf or otherwise.
5. Proprietary Rights; License
5.1    License Grant. Subject to the terms and conditions of this Agreement, Company
       hereby grants you a non-exclusive, non-transferable, non-sublicensable, non-
       assignable license, during the term of this Agreement, to use the Uber Services
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       (including the Driver App on a Device) solely for the purpose of providing
       Transportation Services to Users and tracking resulting Fares and Fees. All
       rights not expressly granted to you are reserved by Company, its Affiliates and
       their respective licensors.
5.2    Restrictions. You shall not, and shall not allow any other party to: (a) license,
       sublicense, sell, resell, transfer, assign, distribute or otherwise provide or make
       available to any other party the Uber Services, Driver App or any Company
       Device in any way; (b) modify or make derivative works based upon the Uber
       Services or Driver App; (c) improperly use the Uber Services or Driver App,
       including creating Internet “links” to any part of the Uber Services or Driver
       App, “framing” or “mirroring” any part of the Uber Services or Driver App on
       any other websites or systems, or “scraping” or otherwise improperly obtaining
       data from the Uber Services or Driver App; (d) reverse engineer, decompile,
       modify, or disassemble the Uber Services or Driver App, except as allowed under
       applicable law; or (e) send spam or otherwise duplicative or unsolicited
       messages. In addition, you shall not, and shall not allow any other party to,
       access or use the Uber Services or Driver App to: (i) design or develop a
       competitive or substantially similar product or service; (ii) copy or extract any
       features, functionality, or content thereof; (iii) launch or cause to be launched on
       or in connection with the Uber Services an automated program or script,
       including web spiders, crawlers, robots, indexers, bots, viruses or worms, or any
       program which may make multiple server requests per second, or unduly burden
       or hinder the operation and/or performance of the Uber Services; or (iv) attempt
       to gain unauthorized access to the Uber Services or its related systems or
       networks.
5.3    Ownership. The Uber Services, Driver App and Company Data, including all
       intellectual property rights therein, and the Company Devices are and shall
       remain (as between you and Company) the property of Company, its Affiliates or
       their respective licensors. Neither this Agreement nor your use of the Uber
       Services, Driver App or Company Data conveys or grants to you any rights in or
       related to the Uber Services, Driver App or Company Data, except for the limited
       license granted above. Other than as specifically permitted by the Company in
       connection with the Uber Services, you are not permitted to use or reference in
       any manner Company’s, its Affiliates’, or their respective licensors’ company
       names, logos, products and service names, trademarks, service marks, trade
       dress, copyrights or other indicia of ownership, alone and in combination with
       other letters, punctuation, words, symbols and/or designs (the "UBER Marks
       and Names") for any commercial purposes. You agree that you will not try to
       register or otherwise use and/or claim ownership in any of the UBER Marks
       and Names, alone or in combination with other letters, punctuation, words,
       symbols and/or designs, or in any confusingly similar mark, name or title, for
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       any goods and services.
6. Confidentiality
6.1    Each party acknowledges and agrees that in the performance of this
       Agreement it may have access to or may be exposed to, directly or indirectly,
       confidential information of the other party ("Confidential Information").
       Confidential Information includes Company Data, Driver IDs, User Information,
       and the transaction volume, marketing and business plans, business, financial,
       technical, operational and such other non-public information of each party
       (whether disclosed in writing or verbally) that such party designates as being
       proprietary or confidential or of which the other party should reasonably know
       that it should be treated as confidential.
6.2    Each party acknowledges and agrees that: (a) all Confidential Information
       shall remain the exclusive property of the disclosing party; (b) it shall not use
       Confidential Information of the other party for any purpose except in
       furtherance of this Agreement; (c) it shall not disclose Confidential Information
       of the other party to any third party, except to its employees, officers,
       contractors, agents and service providers ("Permitted Persons") as necessary to
       perform under this Agreement, provided Permitted Persons are bound in
       writing to obligations of confidentiality and non-use of Confidential Information
       no less protective than the terms hereof; and (d) it shall return or destroy all
       Confidential Information of the disclosing party, upon the termination of this
       Agreement or at the request of the other party (subject to applicable law and,
       with respect to Company, its internal record-keeping requirements).
6.3    Notwithstanding the foregoing, Confidential Information shall not include any
       information to the extent it: (a) is or becomes part of the public domain through
       no act or omission on the part of the receiving party; (b) was possessed by the
       receiving party prior to the date of this Agreement without an obligation of
       confidentiality; (c) is disclosed to the receiving party by a third party having no
       obligation of confidentiality with respect thereto; or (d) is required to be
       disclosed pursuant to law, court order, subpoena or governmental authority,
       provided the receiving party notifies the disclosing party thereof and provides
       the disclosing party a reasonable opportunity to contest or limit such required
       disclosure.
7. Privacy
7.1    Disclosure of Your Information. Subject to applicable law, Company and its
       Affiliates may, but shall not be required to, provide to you, a User, an insurance
       company and/or relevant authorities and/or regulatory agencies any
       information (including personal information (e.g., information obtained about
       you through any background check) and any Company Data) about you or any
       Transportation Services provided hereunder if: (a) there is a complaint, dispute
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       or conflict, including an accident, between you and a User; (b) it is necessary to
       enforce the terms of this Agreement; (c) it is required, in Company’s or any
       Affiliate’s sole discretion, by applicable law or regulatory requirements (e.g.,
       Company or its Affiliates receive a subpoena, warrant, or other legal process for
       information); (d) it is necessary, in Company’s or any Affiliate’s sole discretion,
       to (1) protect the safety, rights, property or security of Company or its Affiliates,
       the Uber Services or any third party; (2) to protect the safety of the public for any
       reason including the facilitation of insurance claims related to the Uber
       Services; (3) to detect, prevent or otherwise address fraud, security or
       technical issues; (4) to prevent or stop activity which Company or any of its
       Affiliates, in their sole discretion, may consider to be, or to pose a risk of being,
       an illegal, unethical, or legally actionable activity); or (e) it is required or
       necessary, in Company’s or any Affiliate’s sole discretion, for insurance or
       other purposes related to your ability to qualify, or remain qualified, to use the
       Uber Services. You understand that Company may retain your personal data for
       legal, regulatory, safety and other necessary purposes after this Agreement is
       terminated.
7.2    Company and its Affiliates may collect your personal data during the course of
       your application for, and use of, the Uber Services, or may obtain information
       about you from third parties. Such information may be stored, processed,
       transferred, and accessed by Company and its Affiliates, third parties, and
       service providers for business purposes, including for marketing, lead
       generation, service development and improvement, analytics, industry and
       market research, and such other purposes consistent with Company’s and its
       Affiliates’ legitimate business needs. You expressly consent to such use of
       personal data.
8. Insurance
8.1    You agree to maintain during the term of this Agreement on all Vehicles operated
       by you under this Agreement automobile liability insurance that provides
       protection against bodily injury and property damage to third parties at levels of
       coverage that satisfy the minimum requirements to operate a private passenger
       vehicle on the public roads within the Territory. This coverage must also include
       any no-fault coverage required by law in the Territory that may not be waived by
       an insured. You agree to provide Company and its Affiliates a copy of the
       insurance policy, policy declarations, proof of insurance identification card and
       proof of premium payment for the insurance policy required in this Section 8.1
       upon request. Furthermore, you must provide Company with written notice of
       cancellation of any insurance policy required by Company. Company shall have
       no right to control your selection or maintenance of your policy. You must be a
       named insured or individually rated driver, for which a premium is charged, on
       the insurance policy required in this Section 8.1 at all times.
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8.2    You agree to maintain during the term of this Agreement workers’
       compensation insurance as required by all applicable laws in the Territory. If
       permitted by applicable law, you may choose to insure yourself against
       industrial injuries by maintaining occupational accident insurance in place of
       workers’ compensation insurance. Furthermore, if permitted by applicable law,
       you may choose not to insure yourself against industrial injuries at all, but do
       so at your own risk.

8.3    You understand and acknowledge that your personal automobile insurance
       policy may not afford liability, comprehensive, collision, medical payments,
       personal injury protection, uninsured motorist, underinsured motorist, or other
       coverage for the Transportation Services you provide pursuant to this
       Agreement. If you have any questions or concerns about the scope or
       applicability of your own insurance coverage, it is your responsibility, not that of
       Company, to resolve them with your insurer(s).

8.4    Company may maintain during the term of this Agreement insurance related to
       your provision of Transportation Services as determined by Company in its
       reasonable discretion or as described in a City Addendum, provided that
       Company and its Affiliates are not required to provide you with any specific
       insurance coverage for any loss to you or your Vehicle. You are required to
       promptly notify Company of any accidents that occur while providing
       Transportation Services and to cooperate and provide all necessary information
       related thereto.

9. Representations and Warranties; Disclaimers
9.1    By You. You hereby represent and warrant that: (a) you have full power and
       authority to enter into this Agreement and perform your obligations hereunder;
       (b) you have not entered into, and during the term will not enter into, any
       agreement that would prevent you from complying with this Agreement; and (c)
       you will comply with all applicable laws in your performance of this Agreement,
       including holding and complying with all permits, licenses, registrations and other
       governmental authorizations necessary to provide (i) Transportation Services
       using the Vehicles pursuant to this Agreement, and (ii) passenger transportation
       services to third parties in the Territory generally.
9.2    Disclaimer of Warranties. COMPANY AND ITS AFFILIATES PROVIDE, AND YOU
       ACCEPT, THE UBER SERVICES, DRIVER APP AND THE COMPANY DEVICES ON AN
       "AS IS" AND "AS AVAILABLE" BASIS. COMPANY AND ITS AFFILIATES DO NOT
       REPRESENT, WARRANT OR GUARANTEE THAT YOUR ACCESS TO OR USE OF THE
       UBER SERVICES, DRIVER APP OR THE COMPANY DEVICES: (A) WILL BE
       UNINTERRUPTED OR ERROR FREE; OR (B) WILL RESULT IN ANY REQUESTS FOR
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        TRANSPORTATION SERVICES. COMPANY AND ITS AFFILIATES FUNCTION AS AN
        ON-DEMAND LEAD GENERATION AND RELATED SERVICE ONLY AND MAKE NO
        REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO THE ACTIONS OR
        INACTIONS OF THE USERS WHO MAY REQUEST OR RECEIVE TRANSPORTATION
        SERVICES FROM YOU, AND COMPANY AND ITS AFFILIATES DO NOT SCREEN
        OR OTHERWISE EVALUATE USERS. BY USING THE UBER SERVICES AND DRIVER
        APP, YOU ACKNOWLEDGE AND AGREE THAT YOU MAY BE INTRODUCED TO A
        THIRD PARTY THAT MAY POSE HARM OR RISK TO YOU OR OTHER THIRD
        PARTIES. YOU ARE ADVISED TO TAKE REASONABLE PRECAUTIONS WITH
        RESPECT TO INTERACTIONS WITH THIRD PARTIES ENCOUNTERED IN CONNECTION
        WITH THE USE OF THE UBER SERVICES OR DRIVER APP.NOTWITHSTANDING
        COMPANY’S APPOINTMENT AS THE LIMITED PAYMENT COLLECTION AGENT OF
        YOU FOR THE PURPOSE OF ACCEPTING PAYMENT FROM USERS ON YOUR
        BEHALF AS SET FORTH IN SECTION 4 ABOVE, COMPANY AND ITS AFFILIATES
        EXPRESSLY DISCLAIM ALL LIABILITY FOR ANY ACT OR OMISSION OF YOU, ANY USER
        OR OTHER THIRD PARTY.
9.3     No Service Guarantee. COMPANY AND ITS AFFILIATES DO NOT GUARANTEE THE
        AVAILABILITY OR UPTIME OF THE UBER SERVICES OR DRIVER APP. YOU
        ACKNOWLEDGE AND AGREE THAT THE UBER SERVICES OR DRIVER APP MAY BE
        UNAVAILABLE AT ANY TIME AND FOR ANY REASON (e.g., DUE TO SCHEDULED
        MAINTENANCE OR NETWORK FAILURE). FURTHER, THE UBER SERVICES OR
        DRIVER APP MAY BE SUBJECT TO LIMITATIONS, DELAYS, AND OTHER PROBLEMS
        INHERENT IN THE USE OF THE INTERNET AND ELECTRONIC
        COMMUNICATIONS, AND COMPANY AND ITS AFFILIATES ARE NOT RESPONSIBLE
        FOR ANY DELAYS, DELIVERY FAILURES, OR OTHER DAMAGES, LIABILITIES OR
        LOSSES RESULTING FROM SUCH PROBLEMS.
10. Indemnification. You shall indemnify, defend (at Company’s option) and hold
    harmless Company and its Affiliates and their respective officers, directors,
    employees, agents, successors and assigns from and against any and all liabilities,
    expenses (including legal fees), damages, penalties, fines, social security
    contributions and taxes arising out of or related to: (a) your breach of your
    representations, warranties or obligations under this Agreement; or (b) a claim by
    a third party (including Users, regulators and governmental authorities) directly or
    indirectly related to your provision of Transportation Services or use of the Uber
    Services. This indemnification provision shall not apply to your breach of any
    representations regarding your status as a contractor.
11. Term and Termination
11.1    Term. This Agreement shall commence on the date accepted by you and shall
        continue until terminated as set forth herein.
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11.2    Termination. Either party may terminate this Agreement: (a) without cause at
        any time upon seven (7) days prior written notice to the other party; (b)
        immediately, without notice, for the other party’s material breach of this
        Agreement; or (c) immediately, without notice, in the event of the insolvency or
        bankruptcy of the other party, or upon the other party’s filing or submission of
        request for suspension of payment (or similar action or event) against the
        terminating party. In addition, Company may terminate this Agreement or
        deactivate your Driver ID immediately, without notice, with respect to you in the
        event you no longer qualify, under applicable law or the standards and policies
        of Company and its Affiliates, to provide Transportation Services or to operate the
        Vehicle, or as otherwise set forth in this Agreement.
11.3    Effect of Termination. Upon termination of the Agreement, you shall: (a)
        promptly return to Company all Company Devices; and (b) immediately delete
        and fully remove the Driver App from any of Your Devices. Outstanding
        payment obligations and Sections 1, 2.3, 2.5.3, 4.7, 4.8, 5.3, 6, 7, 9, 10, 11.3,
        12, 13, and 15 shall survive the termination of this Agreement.
12. Relationship of the Parties

12.1    Except as otherwise expressly provided herein with respect to Company
        acting as the limited payment collection agent solely for the purpose of
        collecting payment from Users on your behalf, the relationship between
        the parties under this Agreement is solely that of independent
        contracting parties. The parties expressly agree that: (a) this Agreement is not
        an employment agreement, nor does it create an employment
        relationship, between Company and you; and (b) no joint venture,
        partnership, or agency relationship exists between Company and you.

12.2    You have no authority to bind Company or its Affiliates and you undertake not to
        hold yourself out as an employee, agent or authorized representative of
        Company or its Affiliates. Where, by implication of mandatory law or otherwise,
        you may be deemed an agent or representative of Company, you undertake
        and agree to indemnify, defend (at Company’s option) and hold Company and
        its Affiliates harmless from and against any claims by any person or entity based
        on such implied agency or representative relationship.

13. Miscellaneous Terms
13.1    Modification. In the event Company modifies the terms and conditions of this
        Agreement at any time, such modifications shall be binding on you only upon
        your acceptance of the modified Agreement. Company reserves the right to
        modify any information referenced at hyperlinks from this Agreement from time
        to time. You hereby acknowledge and agree that, by using the Uber Services, or
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        downloading, installing or using the Driver App, you are bound by any future
        amendments and additions to information referenced at hyperlinks herein, or
        documents incorporated herein, including with respect to Fare Calculations.
        Continued use of the Uber Services or Driver App after any such changes shall
        constitute your consent to such changes.
13.2    Supplemental Terms. Supplemental terms may apply to your use of the Uber
        Services, such as use policies or terms related to certain features and
        functionality, which may be modified from time to time (“Supplemental Terms”).
        You may be presented with certain Supplemental Terms from time to time.
        Supplemental Terms are in addition to, and shall be deemed a part of, this
        Agreement. Supplemental Terms shall prevail over this Agreement in the event
        of a conflict.
13.3    Severability. If any provision of this Agreement is or becomes invalid or non-
        binding, the parties shall remain bound by all other provisions hereof. In that
        event, the parties shall replace the invalid or non-binding provision with
        provisions that are valid and binding and that have, to the greatest extent
        possible, a similar effect as the invalid or non-binding provision, given the
        contents and purpose of this Agreement.
13.4    Assignment. Neither party shall assign or transfer this Agreement or any of
        its rights or obligations hereunder, in whole or in part, without the prior written
        consent of the other party; provided that Company may assign or transfer this
        Agreement or any or all of its rights or obligations under this Agreement from
        time to time without consent: (a) to an Affiliate; or (b) to an acquirer of all or
        substantially all of Company’s business, equity or assets.
13.5    Entire Agreement. Except as provided below, this Agreement, including all
        Supplemental Terms, constitutes the entire agreement and understanding of the
        parties with respect to its subject matter and replaces and supersedes all prior or
        contemporaneous agreements or undertakings regarding such subject matter. In
        this Agreement, the words “including” and “include” mean “including, but not
        limited to.” The recitals form a part of this Agreement. Notwithstanding the
        foregoing, if you opt out of the arbitration provision set forth in Section 15.2
        below, then any prior arbitration agreement between the parties shall remain in
        full force and effect.
13.6    No Third Party Beneficiaries. There are no third party beneficiaries to this
        Agreement, except as expressly set forth in the Arbitration Provision in Section
        15.2 below. Nothing contained in this Agreement is intended to or shall be
        interpreted to create any third-party beneficiary claims.
13.7    Notices. Any notice delivered by Company to you under this Agreement will be
        delivered by email to the email address associated with your account or by
        posting on the portal available to you on the Uber Services. Any notice delivered
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        by you to Company under this Agreement will be delivered by contacting
        Company at http://partners.uber.com in the “Contact Us” section. Additional
        Territory-specific notices may be required from time to time.
14. Existing Agreements. This Section 14 only applies if you were party to a 2015
    Agreement effective immediately prior to the Effective Time:
14.1    2015 Agreement. Except as provided in Section 15 below, you and the
        applicable Uber Subsidiary hereby terminate such 2015 Agreement (except
        as provided in Section 12.3 of the 2015 Agreement), effective as of the
        Effective Time (the “2015 Termination”). The parties further agree to waive
        any applicable notice requirements with respect to the 2015 Termination.
14.2    Continuing Agreements. Notwithstanding the 2015 Termination, you hereby
        (a) ratify, assume and confirm your obligations under any Existing
        Supplemental Terms or Existing City Addenda and (b) acknowledge and agree
        that as of the Effective Time such Existing Supplemental Terms and Existing
        City Addenda are Supplemental Terms or City Addenda, as applicable, under
        this Agreement. The Company hereby ratifies, assumes and confirms its
        obligations under such agreements.
15. Governing Law; Arbitration
15.1    The choice of law provisions contained in this Section 15.1 do not apply to the
        arbitration clause contained in Section 15.2, such arbitration clause being
        governed by the Federal Arbitration Act. Accordingly, and except as otherwise
        stated in Section 15.2, the interpretation of this Agreement shall be governed
        by California law, without regard to the choice or conflicts of law provisions of
        any jurisdiction. Any disputes, actions, claims or causes of action arising out of
        or in connection with this Agreement or the Uber Services that are not subject
        to the arbitration clause contained in Section 15.2 shall be subject to the
        exclusive jurisdiction of the state and federal courts located in the City and
        County of San Francisco, California. However, neither the choice of law
        provision regarding the interpretation of this Agreement nor the forum
        selection provision is intended to create any other substantive right to non-
        Californians to assert claims under California law whether that be by statute,
        common law, or otherwise. These provisions, and except as otherwise
        provided in Section 15.2, are only intended to specify the use of California law
        to interpret this Agreement and the forum for disputes asserting a breach of this
        Agreement, and these provisions shall not be interpreted as generally extending
        California law to you if you do not otherwise reside or provide services in
        California. The foregoing choice of law and forum selection provisions do not
        apply to the arbitration clause in Section 15.2 or to any arbitrable disputes as
        defined therein. Instead, as described in Section 15.2, the Federal Arbitration
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        Act shall apply to any such disputes. The failure of Company to enforce any
        right or provision in this Agreement shall not constitute a waiver of such right or
        provision unless acknowledged and agreed to by Uber in writing.

15.2    Arbitration Provision.

        IMPORTANT: PLEASE REVIEW THIS ARBITRATION PROVISION
        CAREFULLY, AS IT WILL REQUIRE YOU TO RESOLVE DISPUTES WITH
        THE COMPANY ON AN INDIVIDUAL BASIS THROUGH FINAL AND BINDING
        ARBITRATION, EXCEPT AS PROVIDED BELOW. YOU MAY CHOOSE TO
        OPT OUT OF THIS ARBITRATION PROVISION BY FOLLOWING THE BELOW
        INSTRUCTIONS. THERE ARE AND/OR MAY BE LAWSUITS ALLEGING
        CLASS, COLLECTIVE OR REPRESENTATIVE CLAIMS ON YOUR BEHALF
        AGAINST THE COMPANY. IF YOU DO NOT OPT OUT OF THIS ARBITRATION
        PROVISION AND THEREFORE AGREE TO ARBITRATION WITH THE
        COMPANY, YOU ARE AGREEING IN ADVANCE, EXCEPT AS OTHERWISE
        PROVIDED BELOW, THAT YOU WILL NOT PARTICIPATE IN AND,
        THEREFORE, WILL NOT SEEK OR BE ELIGIBLE TO RECOVER MONETARY
        OR OTHER RELIEF IN CONNECTION WITH, ANY SUCH CLASS,
        COLLECTIVE OR REPRESENTATIVE LAWSUIT. THIS ARBITRATION
        PROVISION, HOWEVER, WILL ALLOW YOU TO BRING INDIVIDUAL CLAIMS
        IN ARBITRATION ON YOUR OWN BEHALF.
        15.2.1 How This Arbitration Provision Applies

        This Arbitration Provision is a contract governed by the Federal Arbitration Act, 9
        U.S.C. § 1 et seq. and evidences a transaction involving commerce, and you
        agree that this is not a contract of employment involving any class of workers
        engaged in foreign or interstate commerce within the meaning of Section 1 of
        the Federal Arbitration Act (FAA). If notwithstanding the foregoing, the FAA does
        not apply to this Arbitration Provision, the law pertaining to arbitration
        agreements of the state where you reside when you entered into this Agreement
        shall apply. Except as it otherwise provides, this Arbitration Provision applies to
        any legal dispute, past, present or future, arising out of or related to your
        relationship with the Company or relationship with any of its agents, employees,
        executives, officers, investors, shareholders, affiliates, successors, assigns,
        subsidiaries or parent companies (each of which may enforce this Arbitration
        Provision as third party beneficiaries), and termination of that relationship, and
        survives after the relationship terminates.

        This Arbitration Provision applies to all claims whether brought by you or the
        Company, except as provided below. This Arbitration Provision requires all such
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 claims to be resolved only by an arbitrator through final and binding individual
 arbitration and not by way of court or jury trial. Except as provided below
 regarding the Class Action Waiver and Representative Action Waiver, such
 disputes include without limitation disputes arising out of or relating to
 interpretation or application of this Arbitration Provision, including the formation,
 scope, enforceability, waiver, applicability, revocability or validity of this
 Arbitration Provision or any portion of this Arbitration Provision.

 Except as it otherwise provides, this Arbitration Provision also applies, without
 limitation, to disputes between you and the Company, or between you and any
 other entity or individual, arising out of or related to your application for and use
 of an account to use the Uber Services and Driver App as a driver, background
 checks, your privacy, your contractual relationship with the Company or the
 termination of that relationship (including post-relationship defamation or
 retaliation claims), the nature of your relationship with the Company (including,
 but not limited to, any claim that you are an employee of the Company), trade
 secrets, workplace safety and health, unfair competition, compensation,
 minimum wage, expense reimbursement, overtime, breaks and rest periods,
 retaliation, discrimination, or harassment and claims arising under the
 Telephone Consumer Protection Act, Fair Credit Reporting Act, Title VII of the
 Civil Rights Act of 1964, 42 U.S.C. § 1981, 8 U.S.C. § 1324b (unfair immigration
 related practices), Americans With Disabilities Act, Age Discrimination in
 Employment Act, Fair Labor Standards Act, Worker Adjustment and Retraining
 Notification Act, Older Workers Benefits Protection Act of 1990, Occupational
 Safety and Health Act, Consolidated Omnibus Budget Reconciliation Act of
 1985, federal, state or local statutes or regulations addressing the same or
 similar subject matters, and all other federal, state, or local statutory, common
 law and legal claims (including without limitation, torts) arising out of or relating
 to your relationship with the Company or the termination of that relationship.
 15.2.2 Limitations On How This Arbitration Provision Applies

 Nothing in this Arbitration Provision prevents you from making a report to or
 filing a claim or charge with a government agency, including without limitation
 the Equal Employment Opportunity Commission, U.S. Department of Labor,
 U.S. Securities and Exchange Commission, National Labor Relations Board, or
 Office of Federal Contract Compliance Programs. This Arbitration Provision also
 does not prevent federal administrative agencies from adjudicating claims and
 awarding remedies based on those claims, even if the claims would otherwise
 be covered by this Arbitration Provision.
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 Where you allege claims of sexual assault or sexual harassment, you may elect
 to bring those claims in a court of competent jurisdiction instead of arbitration.
 Company agrees to honor your election of forum with respect to your individual
 sexual harassment or sexual assault claim but in so doing does not waive the
 enforceability of this Arbitration Provision as to any other provision (including but
 not limited to Section 15.2.4 below, which will continue to apply in court and
 arbitration), controversy, claim or dispute.

 To the extent an Act of Congress or applicable federal law not preempted by the
 Federal Arbitration Act provides that a particular claim or dispute may not be
 subject to pre-dispute arbitration, such claim or dispute is excluded from the
 coverage of this Arbitration Provision. Likewise, if the Federal Arbitration Act
 does not apply to a claim or dispute, any claims or disputes that may not be
 subject to pre-dispute arbitration under applicable state arbitration law will be
 excluded from the coverage of this Arbitration Provision.

 Impact on Pending Litigation: This Arbitration Provision shall not affect your
 standing with respect to any litigation against the Company brought by you or on
 your behalf that is pending in a state or federal court or arbitration as of the date
 of your receipt of this Arbitration Provision (“pending litigation”). Therefore:

       •   If you are or previously were a driver-partner authorized to use the
           Uber Services and Driver App, and at the time of your receipt of this
           Agreement you were not bound by an existing arbitration agreement
           with the Company, you shall remain eligible to participate in any
           pending litigation to which you were a party or putative class, collective
           or representative action member regardless of whether you opt out of
           this Arbitration Provision.

       •   If, at the time of your receipt of this Agreement, you were bound by an
           existing arbitration agreement with the Company, that arbitration
           agreement will continue to apply to any pending litigation, even if you
           opt out of this Arbitration Provision.

       •   If, at the time of your receipt of this Agreement, you were not
           previously a driver-partner authorized to use the Uber Services and
           Driver App, then this Arbitration Provision will apply to covered claims
           and any pending litigation unless you opt out of this Arbitration
           Provision as provided below.
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 15.2.3 Governing Rules, Starting The Arbitration, And Selecting The
        Arbitrator

 The JAMS Comprehensive Arbitration Rules & Procedures (the “JAMS Rules”)
 will apply to arbitration under this Arbitration Provision; however, if there is a
 conflict between the JAMS Rules and this Arbitration Provision, this Arbitration
 Provision shall govern. The JAMS Rules are available by, for example,
 searching Google.com, to locate “JAMS Comprehensive Arbitration Rules” or by
 clicking here: https://www.jamsadr.com/rules-comprehensive-arbitration/.

 Prior to commencing arbitration with JAMS, the party bringing the claim in
 arbitration must first demand arbitration in writing within the applicable statute of
 limitations period. The demand for arbitration shall include identification of the
 parties, a statement of the legal and factual basis of the claim(s), and a
 specification of the remedy sought and the amount in controversy. Any demand
 for arbitration made to the Company shall be served upon Uber’s registered
 agent for service of process (CT Corporation, 818 West Seventh Street, Suite
 930, Los Angeles, California 90017). Any demand for arbitration made to you
 shall be sent via electronic email to the email address associated with your
 driver-partner account.

 Before the arbitration demand is submitted to JAMS, the party bringing the claim
 shall first attempt to informally negotiate with the other party, in good faith, a
 resolution of the dispute, claim or controversy between the parties for a period of
 not less than 30 days but no more than 45 days (the “negotiation period”) unless
 extended by mutual agreement of the parties. During the negotiation period, any
 otherwise applicable statute of limitations shall be tolled. If the parties cannot
 reach agreement to resolve the dispute, claim or controversy within the
 negotiation period, the party bringing the claim shall submit the arbitration
 demand to JAMS.

 To commence arbitration, the party bringing the claim must: (1) submit the
 arbitration demand to JAMS, and (2) pay its, his or her portion of any initial
 arbitration filing fee (see Section 15.2.6 below).

 During the negotiation period, the party bringing the claim shall also make a
 good faith effort to meet and confer with the other party regarding the selection
 of an Arbitrator. If the parties reach agreement on an Arbitrator not affiliated with
 JAMS or to use procedures either not specified in the JAMS Rules or in lieu of
 the JAMS Rules, any such agreement shall be memorialized in writing before
 arbitration is commenced.
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 Delivering a written arbitration demand to the other party will not relieve the
 party bringing the claim of the obligation to commence arbitration as described
 above. It shall always be the obligation of the party bringing the claim to
 commence arbitration.

 If, for any reason, the parties cannot agree to an Arbitrator or JAMS will not
 administer the arbitration, either party may apply to a court of competent
 jurisdiction with authority over the location where the arbitration will be
 conducted for appointment of a neutral Arbitrator. The location of the arbitration
 shall be no more than 45 miles from and in the same state where you last used
 the Uber Services and Driver App as a driver, unless each party to the
 arbitration agrees in writing otherwise.

 All claims in arbitration are subject to the same statutes of limitation that would
 apply in court. The Arbitrator shall resolve all disputes regarding the timeliness
 or propriety of the demand for arbitration.

 15.2.4 Class Action Waiver

 This Arbitration Provision affects your ability to participate in class or
 collective actions. Both the Company and you agree to bring any dispute in
 arbitration on an individual basis only, and not on a class or collective basis on
 behalf of others. There will be no right or authority for any dispute to be brought,
 heard or arbitrated as a class or collective action, or for you to participate as a
 member in any such class or collective proceeding (“Class Action Waiver”).
 Notwithstanding any other provision of this Arbitration Provision or the JAMS
 Rules, disputes in court or arbitration regarding the validity, enforceability,
 conscionability or breach of the Class Action Waiver, or whether the Class
 Action Waiver is void or voidable, may be resolved only by the court and not by
 an arbitrator. In any case in which (1) the dispute is filed as a class or collective
 action and (2) there is a final judicial determination that all or part of the Class
 Action Waiver is unenforceable, the class or collective action to that extent must
 be litigated in a civil court of competent jurisdiction, but the portion of the Class
 Action Waiver that is enforceable shall be enforced in arbitration.
 15.2.5 Representative Action Waiver

 This Arbitration Provision affects your ability to participate in
 representative actions. To the maximum extent provided by law, both the
 Company and you agree to bring any dispute in arbitration on an individual basis
 only, and not on a representative basis—including but not limited to as a private
 attorney general representative under the California Labor Code—on behalf of
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 others. There will be no right or authority for any dispute to be brought, heard or
 arbitrated as a representative action, or for you to participate as a member in
 any such representative proceeding (“Representative Action Waiver”).
 Notwithstanding any other provision of this Arbitration Provision or the JAMS
 Rules, disputes in court or arbitration regarding the validity, enforceability,
 conscionability or breach of the Representative Action Waiver, or whether the
 Representative Action Waiver is void or voidable, may be resolved only by the
 court and not by an arbitrator. If any portion of this Representative Action Waiver
 is found to be unenforceable or unlawful for any reason (1) any representative
 claims subject to the unenforceable or unlawful portion(s) shall proceed in a civil
 court of competent jurisdiction; (2) the portion of the Representative Action
 Waiver that is enforceable shall be enforced in arbitration; (3) the unenforceable
 or unlawful provision shall be severed from this Agreement; and (4) severance
 of the unenforceable or unlawful provision shall have no impact whatsoever on
 the Arbitration Provision or the arbitrability of any remaining claims asserted by
 you or the Company.

 Disputes regarding the nature of your relationship with the Company (including,
 but not limited to, any claim that you are an employee of the Company), as well
 as any claim you bring on your own behalf as an aggrieved worker for recovery
 of underpaid wages or other individualized relief (as opposed to a representative
 claim for civil penalties) are arbitrable and must be brought in arbitration on an
 individual basis only as required by this Arbitration Provision. You agree that any
 representative claim that is permitted to proceed in a civil court of competent
 jurisdiction must be stayed pending the arbitration of your dispute regarding the
 nature of your relationship with the Company and any claim you bring on your
 own behalf for individualized relief.
 15.2.6 Paying For The Arbitration

 Except in the case of offers of judgment (such as under Federal Rule of Civil
 Procedure 68 or any applicable state equivalents), each party will pay the fees
 for its, his or her own attorneys and any costs that are not unique to arbitration,
 subject to any remedies to which that party may later be entitled under
 applicable law.

 You and the Company shall follow the JAMS Rules applicable to initial
 arbitration filing fees, except that your portion of any initial arbitration filing fee
 shall not exceed the amount you would be required to pay to initiate a lawsuit in
 federal court in the jurisdiction where the arbitration will be conducted. After (and
 only after) you have paid your portion of any initial arbitration filing fee, the
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 Company will make up the difference, if any, between the fee you have paid and
 the amount required by the JAMS Rules.

 In all cases where required by law, the Company will pay the Arbitrator's fees,
 as well as all fees and costs unique to arbitration. Otherwise, such fee(s) will be
 apportioned between the parties in accordance with said applicable law, and
 any disputes in that regard will be resolved by the Arbitrator. You agree to not
 oppose any negotiations between JAMS and the Company relating only to the
 Company’s fees.

 15.2.7 The Arbitration Hearing And Award

 Within 30 days of the close of the arbitration hearing, any party will have the
 right to prepare, serve on the other party and file with the Arbitrator a brief. The
 Arbitrator may award any party any remedy to which that party is entitled under
 applicable law, but such remedies shall be limited to those that would be
 available to a party in his or her individual capacity in a court of law for the
 claims presented to and decided by the Arbitrator. The Arbitrator shall apply
 applicable controlling law and will issue a decision or award in writing, stating
 the essential findings of fact and conclusions of law. A court of competent
 jurisdiction shall have the authority to enter a judgment upon the award made
 pursuant to the arbitration.


 15.2.8 Your Right To Opt Out Of This Arbitration Provision

 Agreeing to this Arbitration Provision is not a mandatory condition of your
 contractual relationship with the Company. If you do not want to be subject to
 this Arbitration Provision, you may opt out of this Arbitration Provision (subject
 to the pending litigation provision in Section 15.2.2, and the limitations set forth
 in this Section 15.2.8). To do so, within 30 days of the date that this Agreement
 is electronically accepted by you, you must send an electronic email from the
 email address associated with your driver-partner account to
 optout@uber.com, stating your intent to opt out of this Arbitration Provision, as
 well as your name, the phone number associated with your driver-partner
 account, and the city in which you reside.

 An email sent by your agent or representative (including your counsel) shall
 not be effective. Your email may opt out yourself only, and any email that
 purports to opt out anyone other than yourself shall be void as to any others.
 Should you not opt out of this Arbitration Provision within the 30-day period,
 you and the Company shall be bound by the terms of this Arbitration Provision.
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 You will not be subject to retaliation if you exercise your right to opt out of this
 Arbitration Provision.

 If you opt out of this Arbitration Provision and at the time of your receipt of this
 Agreement you were bound by an existing agreement to arbitrate disputes
 arising out of or related to your use of the Uber Services and Driver App, that
 existing arbitration agreement will remain in full force and effect.

 Neither your acceptance of this Agreement nor your decision to opt out of this
 Arbitration Provision will affect any obligation you have to arbitrate disputes not
 specified in this Arbitration Provision pursuant to any other agreement you
 have with the Company or any of its subsidiaries or affiliate entities. Likewise,
 your acceptance of or decision to opt out of any other arbitration agreement
 you have with the Company or any of its subsidiaries or affiliate entities shall
 not affect any obligation you have to arbitrate claims pursuant to this
 Arbitration Provision.
 15.2.9 Enforcement Of This Arbitration Provision

 You have the right to consult with counsel of your choice concerning this
 Arbitration Provision and to be represented by counsel at any stage during the
 arbitration process. Except as provided in Sections 15.2.2 and 15.2.8 of this
 Arbitration Provision, this Arbitration Provision replaces prior agreements
 regarding the arbitration of disputes and is the full and complete agreement
 relating to the formal resolution of disputes covered by this Arbitration Provision.
 In the event any portion of this Arbitration Provision is deemed unenforceable,
 the remainder of this Arbitration Provision will be enforceable. This Arbitration
 Provision will survive the termination of your relationship with the Company, and
 it will continue to apply if your relationship with the Company is ended but later
 renewed.
